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   15 JOEY CRUZ, RAFAEL MEJIA, MICHAEL RUSSELL and RAUL VERSALES
   16
                                 UNITED STATES DISTRICT COURT
   17
                   CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   18
   19 VANESSA BRYANT,                                CASE NO. 2:20-cv-09582-JFW-E
   20                   Plaintiff,                   DECLARATION OF
   21                                                MIRA HASHMALL IN SUPPORT
                   v.                                OF DEFENDANTS’ OPPOSITION
   22                                                TO CONSOLIDATE CASES
        COUNTY OF LOS ANGELES, et al.,
   23                                                [Filed Concurrently with Opposition to
                        Defendants.                  Consolidate Cases]
   24
   25
                                                     Assigned to Hon. John F. Walter and
   26                                                Magistrate Judge Charles F. Eick
   27
   28
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                               DECLARATION OF MIRA HASHMALL IN SUPPORT OF
                               DEFENDANTS’ OPPOSITION TO CONSOLIDATE CASES
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    1                           DECLARATION OF MIRA HASHMALL
    2              I, Mira Hashmall, declare as follows:
    3              1.    I am an attorney duly admitted to practice before this Court. I am a
    4 partner with Miller Barondess, LLP, counsel of record for Defendants County of
    5 Los Angeles (“County”), Los Angeles County Fire Department, Joey Cruz, Rafael
    6 Mejia, Michael Russell, and Raul Versales (collectively, “Defendants”). I have
    7 personal knowledge of the facts set forth herein, and if called as a witness, I could
    8 and would competently testify to all of said facts. I make this declaration in support
    9 of Defendants’ Opposition to Consolidate Cases.
   10 Hearing Transcript
   11              2.    A true and correct copy of excerpts of the Reporter’s Transcript of the
   12 July 8, 2022 Pretrial Conference is attached hereto as Exhibit 1.
   13 Deposition Transcripts
   14              3.    A true and correct copy of excerpts of the April 16, 2021 deposition of
   15 Victor Gutierrez is attached hereto as Exhibit 2.
   16              4.    A true and correct copy of excerpts of the September 30, 2021
   17 deposition of Sky Cornell is attached hereto as Exhibit 3.
   18              5.    A true and correct copy of excerpts of the October 12, 2021 deposition
   19 of Vanessa Bryant is attached hereto as Exhibit 4.
   20              6.    A true and correct copy of excerpts of the October 29, 2021 deposition
   21 of Christopher L. Chester is attached hereto as Exhibit 5. Chester testified during
   22 his deposition that his emotional distress has manifested as sadness, anger,
   23 intermittent insomnia, nightmares, and self-medicating with alcohol. Chester has
   24 objected to Defendants including relevant excerpts from his deposition on this topic
   25 on the grounds that he has designated his testimony Confidential. Defendants
   26 disagree with Chester’s Confidential designation, but out of abundance of caution do
   27 not exhibit them here.
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                                DECLARATION OF MIRA HASHMALL IN SUPPORT OF
                                DEFENDANTS’ OPPOSITION TO CONSOLIDATE CASES
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    1 Meet-and-Confer Efforts
    2              7.    A true and correct copy of a July 11, 2022 email from Christopher
    3 Chester’s trial counsel, wherein Chester withdrew trial exhibits 317, 318, 319, 320,
    4 321, 322, 323, 324, 325, 326 and 329 is attached hereto as Exhibit 6.
    5              I declare under penalty of perjury under the laws of the United States of
    6 America that the foregoing is true and correct.
    7              Executed on this 13th day of July, 2022, at Los Angeles, California.
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   10                                                  Mira Hashmall

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                                DECLARATION OF MIRA HASHMALL IN SUPPORT OF
                                DEFENDANTS’ OPPOSITION TO CONSOLIDATE CASES
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    1     INDEX OF EXHIBITS TO THE DECLARATION OF MIRA HASHMALL
    2      Exhibit                         Description                    Pg. No.
    3       No.
               1.    Pretrial Conference Transcript Excerpts              5-12
    4
               2.    Victor Gutierrez Deposition Excerpts                 13-24
    5
    6          3.    Sky Cornell Deposition Excerpts                      25-33

    7          4.    Vanessa Bryant Deposition Excerpts                   34-44
    8          5.    Christopher L. Chester Deposition Excerpts           45-63
    9          6.    July 11, 2022 Email                                  64-66
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                            DECLARATION OF MIRA HASHMALL IN SUPPORT OF
                            DEFENDANTS’ OPPOSITION TO CONSOLIDATE CASES
